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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     R.A. FEUER,                                        Case No. 18-cv-02866-JST
                                                        Plaintiff,                          ORDER GRANTING JOINT MOTION
                                   8
                                                                                            TO DISMISS WITH PREJUDICE
                                                 v.
                                   9
                                                                                            Re: ECF No. 137
                                  10     JOHN D. BAKER, et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is a joint motion to dismiss with prejudice the amended complaint on the

                                  14   grounds of res judicata filed by Nominal Defendant Wells Fargo & Company (“Wells Fargo”) and

                                  15   Plaintiff R.A. Feuer (collectively, “the parties”). ECF No. 137. A response to the joint motion has

                                  16   been filed by the Fire & Police Pension Association of Colorado and the City of Birmingham

                                  17   Retirement and Relief System (the “Sales Practices Plaintiffs”). ECF No. 140. The Sales

                                  18   Practices Plaintiffs “agree this case is now barred by res judicata due to the final judgment entered

                                  19   in the related State CPI Action,” but they (1) argue that Feuer is “attempt[ing] to circumvent the

                                  20   requirements of Federal Rule of Civil Procedure 23.1” and (2) “move to disgorge Feuer and his

                                  21   counsel of the $1.5 million payment they obtained” through their settlement in the state court

                                  22   action. Id. at 4. Wells Fargo and Feuer each filed a reply, ECF Nos. 144, 145, and the Court held

                                  23   a hearing on April 8, 2021, ECF No. 159. The Court now grants the motion to dismiss.

                                  24          No party disputes, and the Court confirms, that this action is barred by res judicata due to

                                  25   the derivative action settlement approved by the Superior Court of the State of California for the

                                  26   County of San Francisco and the subsequent final judgment entered by that court. See In re Wells

                                  27   Fargo & Company Auto Insurance Derivative Litigation, No. CGC-17-561118; ECF No. 137-1 at

                                  28
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                                   1   103-05.1 Under the doctrine of res judicata, “a final judgment on the merits bars further claims by

                                   2   parties or their privies based on the same cause of action.” Headwaters Inc. v. U.S. Forest Serv.,

                                   3   399 F.3d 1047, 1051 (9th Cir. 2005) (quoting In re Schimmels, 127 F.3d 875, 881 (9th Cir. 1997)).

                                   4   When determining whether a judgment by a California court has a res judicata effect, the Full

                                   5   Faith and Credit Act requires a federal court to apply the res judicata law of California to that

                                   6   judgment. See Robi v. Five Platters, Inc., 838 F.2d 318, 322 (9th Cir. 1988) (holding that the Full

                                   7   Faith and Credit Act “requires federal courts to apply the res judicata rules of a particular state to

                                   8   judgments issued by courts of that state”).

                                   9           In California, “[c]laim preclusion arises if a second suit involves: (1) the same cause of

                                  10   action (2) between the same parties (3) after a final judgment on the merits in the first suit.” DKN

                                  11   Holdings LLC v. Faerber, 61 Cal. 4th 813, 824 (2015). “If claim preclusion is established, it

                                  12   operates to bar relitigation of the claim altogether.” Id. All three requirements of res judicata are
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                                  13   satisfied here. Both this action and the parallel state court action involved shareholders of Wells

                                  14   Fargo alleging that “inadequate oversight” of the same defendants “led to wrongdoing in the auto

                                  15   lending business, in particular the improper placement of CPI on customers who already had

                                  16   adequate insurance.” ECF No. 37 at 14; see also id. at 14-17. And the judgment in the state court

                                  17   action is final under California law as “the period during which an appeal could have been brought

                                  18   to challenge the judgment has expired,” and no appeal remains pending. Id. at 18. This action is

                                  19   therefore barred.

                                  20           The Court next considers whether Federal Rule of Civil Procedure 23.1 is implicated here.

                                  21   Federal Rule of Civil Procedure 23.1(c) requires that “[a] derivative action . . . be settled,

                                  22   voluntarily dismissed, or compromised only with the court’s approval. Notice of a proposed

                                  23   settlement, voluntary dismissal, or compromise must be given to shareholders or members in the

                                  24   manner that the court orders.” Rule 23.1 does not apply because this action was not settled,

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                                        Wells Fargo requests the Court take judicial notice of several “court filings[,] the accuracy of
                                  27   which is not reasonably subject to dispute,” including the final judgment entered in the state court
                                       action. ECF No. 137-5 at 2. The Court grants this unopposed request. See Reyn’s Pasta Bella,
                                  28   LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006) (citing Burbank-Glendale-Pasadena
                                       Airport Auth. v. City of Burbank, 136 F.3d 1360, 1364 (9th Cir. 1998)).
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                                   1   voluntarily dismissed, or compromised.2 The settlement that Sales Practices Plaintiffs take issue

                                   2   with is a settlement between Feuer and Wells Fargo in the parallel state court action. The

                                   3   consequences of that settlement were (1) the resolution of Feuer’s appeal of the state court’s final

                                   4   approval of the derivative action settlement reached in that case and (2) Feuer’s agreement not to

                                   5   dispute the res judicata effect of that settlement on this action. See ECF No. 140 at 9. However,

                                   6   as the Sales Practices Plaintiffs agree, id. at 4, this action is barred by res judicata. The Sales

                                   7   Practice Plaintiffs argue that the motion to dismiss is tantamount to a settlement, but that it would

                                   8   not be so if it were opposed. Because any argument that Feuer could have raised against the

                                   9   dismissal of this action would have been fruitless, however, his agreement not to object does not

                                  10   amount to a “voluntary dismissal” or “compromise.” The Court holds that Rule 23.1 is not

                                  11   implicated here.

                                  12           Finally, the Court turns to the role of the Sales Practices Plaintiffs in this action. They are
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 United States District Court




                                  13   listed on the docket as “interested” parties, and the only other filing they have participated in was

                                  14   the 2018 stipulation that clarified that this action would not involve any claims regarding the

                                  15   unauthorized sales practices asserted in the related case in which the Sales Practices Plaintiffs are

                                  16   the lead plaintiffs. ECF No. 52. In their response to the parties’ joint motion to dismiss, the Sales

                                  17   Practices Plaintiffs do not claim to have the status of objectors or otherwise explain their role in

                                  18   this litigation. They also cite no rule or case to support their authority either to seek relief in this

                                  19   action or to file a response to the parties’ joint motion to dismiss. Instead, they attempt to explain

                                  20   their filing as responding to the motion “in their capacity as Wells Fargo shareholders and Court-

                                  21   appointed co-lead plaintiffs in the related action, In re Wells Fargo & Co. Shareholder Derivative

                                  22   Litigation, No. 4:16-cv-05541-JST (N.D. Cal.).” ECF No. 140 at 4. The Court is not aware how

                                  23   Sales Practices Plaintiffs’ role in a related but separate action justifies their request for relief in this

                                  24   case.

                                  25           The Court declines to consider the Sales Practices Plaintiffs’ arguments regarding

                                  26   disgorgement due to, among other considerations, the procedural posture of this case.

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                                  28    The Court further notes that without a settlement of this action, there appears to be no role for
                                       objectors to play here.
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                                   1          While the Court maintains its previously-expressed concerns about side payments received

                                   2   for the purpose of withdrawing objections, it again concludes that it would likely be more

                                   3   appropriate for the Sales Practices Plaintiffs to raise their concerns regarding the settlement

                                   4   between Feuer and Wells Fargo in the state court. See In re Wells Fargo & Co. S’holder

                                   5   Derivative Litig., No. 16-cv-05541, --- F.Supp.3d ---, 2021 WL 926706, at *6 (N.D. Cal. Mar. 4,

                                   6   2021); see also ECF No. 140 at 15 n.19.

                                   7          The Clerk is directed to enter judgment and close the case.

                                   8          IT IS SO ORDERED.

                                   9   Dated: April 22, 2021
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                                  10
                                                                                                      JON S. TIGAR
                                  11                                                            United States District Judge

                                  12
Northern District of California
 United States District Court




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